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                       Nos. 19-1081 (L) & 19-1083



    In the United States Court of Appeals
            for the Federal Circuit
                             ______________
   NATIONAL VETERANS LEGAL SERVICES PROGRAM, ET AL.

                                     v.

                            UNITED STATES
                            ______________
 Appeal from the United States District Court for the District of Columbia,
                             No. 16-cv-745
                            ______________
BRIEF OF THE AMERICAN CIVIL LIBERTIES UNION, AMERICAN
    ASSOCIATION OF LAW LIBRARIES, AMERICAN LIBRARY
ASSOCIATION, CATO INSTITUTE, & KNIGHT FIRST AMENDMENT
  INSTITUTE AT COLUMBIA UNIVERSITY AS AMICI CURIAE IN
 SUPPORT OF CROSS-APPELLEES NATIONAL VETERANS LEGAL
                SERVICES PROGRAM, ET AL.
                      ______________

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                           Nos. 19-1081 (L) & 19-1083



                   UNITED STATES COURT OF APPEALS
                      FOR THE FEDERAL CIRCUIT
                            ______________
       NATIONAL VETERANS LEGAL SERVICES PROGRAM, ET AL.

                                         v.

                                UNITED STATES
                                ______________
                        CERTIFICATE OF INTEREST
                             ______________
Counsel for amici curiae certifies the following:

      1. The full names of all amici curiae represented by me are: American

         Civil Liberties Union; American Association of Law Libraries;

         American Library Association; Cato Institute; and Knight First

         Amendment Institute at Columbia University.

      2. The name of the real party in interest (if the party named in the caption is

         not the real party in interest) represented by me is: N/A.

      3. All parent companies and any publicly held companies that own 10

         percent or more of the stock of the amici curiae represented by me are:

         None.

      4. The names of all law firms and the partners or associates that appeared

         for the amici curiae now represented by me in the trial court or agency, or

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         are expected to appear in this court are: Relman, Dane & Colfax PLLC

         (by Sasha Samberg-Champion and Stephen M. Dane) for Amicus

         Curiae American Association of Law Libraries in the District Court

         for the District of Columbia.



Date: January 23, 2019                         /s/ Brett Max Kaufman

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                       INTERESTS OF AMICI CURIAE1

      The American Civil Liberties Union (“ACLU”) is a nationwide, nonprofit,

nonpartisan organization with more than two million members and supporters

dedicated to the principles of liberty and equality embodied in the Constitution and

our nation’s civil rights laws. It has vast experience as an amicus party in First

Amendment cases, including in this Court. See, e.g., In re Tam, 808 F.3d 1321

(Fed. Cir. 2016).

      The American Association of Law Libraries (“AALL”) is the only national

association dedicated to the legal information profession and its professionals.

Founded in 1906 on the belief that people—lawyers, judges, students, and the

public—need timely access to relevant legal information to make sound legal

arguments and wise legal decisions, its more than 4,100 members are problem

solvers of the highest order. AALL fosters the profession by offering its members

knowledge, leadership, and community that make the whole legal system stronger.




1
  Both parties have consented to the filing of this brief. No party has authored this
brief in whole or in part, and no one other than amici, their members, or counsel
has paid for the preparation or submission of this brief. See Fed. R. App. P. 29. In
the interest of transparency, amici make clear that while they presumptively fall
within the definition of the certified class in this case, they have had no role in
bringing this litigation and their views are not motivated by any financial interest
in the outcome.
                                           1
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      The American Library Association (“ALA”) is the foremost national

organization providing resources to inspire library and information professionals to

transform their communities through essential programs and services. For more

than 140 years, the ALA has been the trusted voice for academic, public, school,

government and special libraries, advocating for the profession and the library’s

role in enhancing learning and ensuring access to information for all.

      The Cato Institute was established in 1977 as a nonpartisan public policy

research foundation dedicated to advancing the principles of individual liberty, free

markets, and limited government. Cato’s Robert A. Levy Center for Constitutional

Studies was established to restore the principles of limited constitutional

government that are the foundation of liberty. Toward those ends, Cato publishes

books and studies, conducts conferences and forums, and produces the annual Cato

Supreme Court Review.

      The Knight First Amendment Institute at Columbia University is a non-

partisan, not-for-profit organization that works to defend the freedoms of speech

and the press in the digital age through strategic litigation, research, and public

education. The Institute is particularly committed to ensuring meaningful public

access to the information necessary for effective self-government, such as judicial

records.




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                                 INTRODUCTION
      The public’s right of meaningful access to judicial proceedings has a

pedigree that predates the First Amendment, one that has suffused not only the law

itself but the culture of the American judicial system since the Founding. The logic

that animates the right is both simple and fundamental: Public scrutiny of judicial

proceedings enhances their quality, ensures their fairness, and safeguards their

integrity. That logic has endured, and today, the right of access is enshrined in the

First Amendment. This right, which originated from a fear of replicating the Star

Chamber in criminal trials, is now understood to cover all manner of judicial

matters—from pre-trial motions filed in capital-murder trials, to summary-

judgment motions in civil suits, to administrative appeals of New York City

subway fines. In the twenty-first century, the First Amendment right of public

access applies to the government’s PACER system, both a digital index of and a

platform for obtaining the hundreds of millions of federal court documents that are

themselves subject to the access right. Like docket sheets, which courts have

widely held are subject to the right of access, PACER is an integral part of the

public’s access to and oversight of the workings of the judiciary.

      In this case, the government urges an interpretation of a federal statute that,

if accepted by this Court, would dive headlong into these First Amendment waters.

As a result, the Court should employ the canon of constitutional avoidance and


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reject the government’s interpretation of the statute. By arguing that it may use

PACER fees for purposes entirely unrelated to the upkeep of the system, the

government at least raises a substantial constitutional question. Numerous Supreme

Court and appellate cases have held that the government may not impose fees that

condition the free exercise of First Amendment rights unless they are reasonably

related to the maintenance and administration of the platform and conditions that

allow for the enjoyment of those rights. Though it would be inappropriate for this

Court to decide the question here, the government almost certainly cannot justify

the fees it has imposed on users of PACER to enjoy meaningful public access to

work of the nation’s courts.

                                    ARGUMENT

I.    The First Amendment guarantees the public a right of access to judicial
      records.

      While an “unbroken, uncontradicted history” of public access to judicial

proceedings had traditionally been buttressed with reference to the traditions and

reasoning of the common law, the Supreme Court first recognized its constitutional

roots in a landmark 1980 decision, Richmond Newspapers, Inc. v. Virginia, 448

U.S. 555, 573, 575–81 (1980) (plurality op.). There, the Court traced the

development of the modern criminal trial “back beyond reliable historical records,”

concluding that “throughout its evolution, the trial has been open to all who care to

observe.” Id. at 564. This was “no quirk of history,” the Court explained, but an

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“indispensable attribute” of American justice. Id. at 569. Courts are instruments of

democracy, and as such they are subordinate to, and ultimately supervised by, the

public. As the Court explained: “People in an open society do not demand

infallibility from their institutions, but it is difficult for them to accept what they

are prohibited from observing.” Id. at 572. And the First Amendment’s various

strains—the freedoms of speech, press, and assembly—converged in the context of

public access to the workings of the judiciary, “giv[ing] meaning to those explicit

guarantees.” Id. at 575. “The explicit, guaranteed rights to speak and to publish

concerning what takes place at a trial would lose much meaning if access to

observe the trial could, as it was here, be foreclosed arbitrarily.” Id. at 576–77.

      In a remarkable concurrence—one whose approach to deciding First

Amendment right-of-access questions would become the full Court’s less than two

years later—Justice Brennan highlighted the First Amendment’s “specific

structural significance.” Id. at 594 (Brennan, J., concurring); see Globe Newspaper

Co. v. Super. Ct., 457 U.S. 596, 605–06 (1982). As he explained, the First

Amendment “has a structural role to play in securing and fostering our republican

system of self-government.” Richmond Newspapers, 448 U.S. at 587. “[P]ublic

access,” he concluded, “is an indispensable element of the trial process itself,” and

it “assumes structural importance in our ‘government of laws.’” Id. at 597 (quoting

Marbury v. Madison, 1 Cranch 137, 163 (1803)). As the full Court would soon

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emphasize, the right of access “ensure[s] that the constitutionally protected

discussion of governmental affairs is an informed one.” Globe Newspaper, 457

U.S. at 596 (quotation marks omitted).

      Far from announcing a brand new constitutional rule, the Court’s decision in

Richmond Newspapers effectively gave form to what had largely been an assumed

one. Centuries of practice had solidified the nation’s commitment to a presumption

of judicial openness. Arriving in that context, the ruling echoed Madison’s famous

quip that “[a] popular Government, without popular information, or the means of

acquiring it, is but a Prologue to a Farce or a Tragedy; or, perhaps both.” Letter

from James Madison to W.T. Barry (Aug. 4, 1822), in 9 Writings of James

Madison at 103 (Gaillard Hunt ed. 1910). And it gave constitutional vigor to the

Court’s own ruling, made just two years prior to Richmond, that even in the face of

the weighty institutional objections of the president himself, American courts are

presumptively open to the public based on “the citizen’s desire to keep a watchful

eye on the workings of public agencies . . . and in a newspaper publisher’s

intention to publish information concerning the operation of government.” Nixon v.

Warner Commc’ns, Inc., 435 U.S. 589, 598 (1978).

      While Richmond Newspapers applied the First Amendment right of access

to the specific context of a criminal trial, courts quickly made clear that its reach

was much broader. Two years later, the Supreme Court adopted the rubric

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elucidated in Justice Brennan’s Richmond concurrence as the governing framework

for right-of-access claims. See Globe Newspaper, 457 U.S. at 605–06. Elaborated

more fully in subsequent cases, the approach asks courts to apply what are

commonly known as the twin tests of “experience and logic” to determine whether

the right of access applies to a particular type of judicial proceeding—or, critically,

a proceeding’s associated records. See Press-Enterprise Co. v. Super. Ct. (Press-

Enterprise I), 464 U.S. 501, 505–11 (1984) (applying right of access to transcript

of closed jury voir dire); Press-Enterprise Co. v. Super. Ct. (Press-Enterprise II),

478 U.S. 1, 10–13 (1986) (same as to transcript of closed preliminary hearing).

Under the “experience” test, courts ask whether there is a historical “tradition of

access[]” to the particular type of governmental process or record to which the

public seeks access. See Press-Enterprise II, 478 U.S. at 10; El Vocero de P.R. v.

Puerto Rico, 508 U.S. 147, 150–51 (1993) (per curiam). The “logic” test asks

whether public access to such proceedings or records plays a “significant positive

role” in the functioning of the governmental process at issue. See Press-Enterprise

II, 478 U.S. at 11–13.2


2
  While some courts apply these tests as independent requirements, several courts
have “broken ground by recognizing the right [of access] when only one prong is
satisfied”—“a recent trend [that] may reflect some courts’ final recognition that the
history prong often cannot be satisfied when modern forms of adjudication and
innovative judicial devices are utilized.” Nicole J. Dulude, Unlocking America’s
Courthouse Doors: Restoring a Presumption of First Amendment Access as a
Means of Reviving Public Faith in the Judiciary, 11 Roger Williams U. L. Rev.
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         Taking cues from the rationales expounded in this trio of Supreme Court

decisions, lower courts quickly began to apply the First Amendment right of access

to contexts beyond the criminal trial. Within years, federal courts of appeals had

applied the right to proceedings and related documents to all manner of criminal

contexts, including pretrial suppression hearings,3 bail hearings,4 parole hearings,5

contempt proceedings,6 post-conviction proceedings,7 transcripts of chambers and

sidebar conferences,8 plea and sentencing hearings,9 pretrial motions,10 and

documents concerning judicial recusals.11 And over time, “the federal courts of

appeals have widely agreed”—and no circuit has categorically rejected—that the

193, 206 (2005); see, e.g., In re Copley Press, Inc., 518 F.3d 1022, 1026 (9th Cir.
2008); In re Bos. Herald, Inc., 321 F.3d 174, 182 (1st Cir. 2003); United States v.
Simone, 14 F.3d 833 (3d Cir. 1994); United States v. Suarez, 880 F.2d 626, 631 (2d
Cir. 1989). As the Ninth Circuit has explained, “[t]hough our cases refer to this as
the ‘experience and logic’ test, it’s clear that these are not separate inquiries.” In re
Copley Press, 518 F.3d at 1026 n.2; accord Seattle Times Co. v. U.S. Dist. Ct., 845
F.2d 1513, 1516, 1517 (9th Cir. 1988); Hartford Courant Co. v. Pellegrino, 380
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4
    United States v. Chagra, 701 F.2d 354 (5th Cir. 1983).
5
    Newman v. Graddick, 696 F.2d 796 (11th Cir. 1983).
6
    In re Iowa Freedom of Info. Council, 724 F.2d 658 (8th Cir. 1983).
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    CBS, Inc. v. U.S. Dist. Ct., 765 F.2d 823 (9th Cir. 1985).
8
    United States v. Smith, 787 F.2d 111 (3d Cir. 1986).
9
    In re Wash. Post, 807 F.2d 383 (4th Cir. 1986).
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     In re N.Y. Times Co., 828 F.2d 110 (2d Cir. 1987).
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     Application of Storer Commcn’s, Inc., 828 F.2d 330 (6th Cir. 1987).
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First Amendment right of access applies to a panoply of civil (and even non-

judicial administrative) matters and records, as well. Courthouse News Serv. v.

Planet, 750 F.3d 776, 786 (9th Cir. 2014).12

      All of these courts have taken the logic of Richmond Newspapers and its

progeny to heart, concluding that what is true of physical access to courtrooms to

observe criminal trials is also true of access to proceedings and records throughout




12
   See, e.g., N.Y.C. Transit Auth., 684 F.3d at 305 (administrative civil infraction
hearings); Lugosch v. Pyramid Co. of Onondaga, 435 F.3d 110, 124 (2d Cir. 2006)
(documents submitted with summary-judgment motion); Pellegrino, 380 F.3d at 93
(docket sheets); Publicker Indus., Inc. v. Cohen, 733 F.2d 1059, 1067–75 (3d Cir.
1984) (transcript of preliminary-injunction hearing); Rushford v. New Yorker
Magazine, Inc., 846 F.2d 249, 252–54 (4th Cir. 1988) (exhibits to summary-
judgment motion); Doe v. Pub. Citizen, 749 F.3d 246, 265–66 (4th Cir. 2014)
(summary-judgment opinion and docket sheet); Brown & Williamson Tobacco
Corp. v. FTC, 710 F.2d 1165, 1176–81 (6th Cir. 1983) (agency documents filed in
administrative and civil matters); In re Continental Ill. Secs. Litig., 732 F.2d 1302,
1308-09 (7th Cir. 1984) (evidence admitted during civil trial); Cal. First
Amendment Coal. v. Woodford, 299 F.3d 868, 874 (9th Cir. 2002) (viewing
executions); Courthouse News Serv., 750 F.3d at 786–88 (civil complaint); Brown
v. Advantage Eng’g Inc., 960 F.2d 1013, 1015–16 (11th Cir. 1992) (settlement
agreement).
       This Court has apparently never squarely addressed a First Amendment
right-of-access claim, making it unique among the federal circuit courts. However,
in a 2011 case addressing the Court’s rules concerning confidentiality markings,
the Court explained as “background” that the First Amendment guarantees a “right
of public access to court proceedings.” In re Violation of Rule 28(D), 635 F.3d
1352, 1356 (Fed. Cir. 2011) (Dyk, J.) (citing Richmond Newspapers, 448 U.S. at
579). Given that this Court lacks jurisdiction over criminal matters, this
background discussion strongly suggests that it would agree with the seven circuits
to have explicitly recognized the First Amendment right of access to civil matters.
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the criminal and civil justice system. See, e.g., Associated Press v. U.S. Dist. Ct.,

705 F.2d 1143, 1145 (9th Cir. 1983). As the Third Circuit has explained:

      As with other branches of government, the bright light cast upon the
      judicial process by public observation diminishes the possibilities for
      injustice, incompetence, perjury, and fraud. Furthermore, the very
      openness of the process should provide the public with a more
      complete understanding of the judicial system and a better perception
      of its fairness.

Leucadia, Inc. v. Applied Extrusion Techs., Inc., 998 F.2d 157, 161 (3d Cir. 1993)

(quoting Rep. of Phil. v. Westinghouse Elec. Corp., 949 F.2d 653, 660 (3d Cir.

1991)). Likewise, courts have recognized that not only is “[p]ublic oversight of

courts and therefore public access to judicial operation . . . foundational to the

functioning of government,” but that “[w]ithout such oversight, the government

can become an instrument for injustice.” Ibrahim v. DHS, 62 F. Supp. 3d 909,

934–35 (N.D. Cal. 2014).

      To be sure, where the First Amendment right of access applies to create a

right of access to judicial proceedings and records, that right is not absolute.

Instead, it is a qualified one that grants the public and its “surrogates,” the news

media, Richmond Newspapers, 448 U.S. at 572 (plurality op.), presumptive access

to court records and documents. That presumption, though, is a weighty one.

Proceedings and records to which the First Amendment right of access attaches

“cannot be closed unless specific, on the record findings are made demonstrating

that ‘closure is essential to preserve higher values and is narrowly tailored to serve
                                          10
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that interest.’” Press-Enterprise II, 478 U.S. at 13–14 (quoting Press-Enterprise I,

464 U.S. at 510).

II.      The First Amendment right of access attaches to PACER.

         A.     PACER is a digital index of and platform for obtaining more than
                one billion judicial records that are themselves subject to the First
                Amendment right of access.

         Until the late 1980s, the only access Americans had to court records was

physical. To inspect records, a private individual, journalist, or lawyer had to line

up at a window in a courthouse clerk’s office and physically mark the papers she

wished to inspect or copy. While clerks were not authorized to charge visitors to

review documents, many courthouses did charge for the ability to copy them.13 But

in 1988, the fast adoption of personal computers and the nascent internet made

possible a new method of access involving dial-up access to an assortment of

judicial documents in six different federal courts.14 Initially, only thumbnail case

summaries were available; actual case documents remained available only at the

courthouses that housed them.15 Other pilot efforts in the U.S. Supreme Court and

several courts of appeals followed, making opinions available through online
13
  Peter W. Martin, Online Access to Court Records: From Documents to Data,
Particulars to Patterns, at 10 (Cornell Law School Legal Studies Research Paper
Series, No. 08-003) (Mar. 14, 2008), http://ssrn.com/abstract=1107412.
14
  See U.S. Courts, 25 Years Later, PACER, Electronic Filing Continue to Change
Courts, Dec. 9, 2013, https://www.uscourts.gov/news/2013/12/09/25-years-later-
pacer-electronic-filing-continue-change-courts.
15
     See id.
                                           11
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bulletin boards.16 Two years later, Congress authorized the judiciary to expand the

program throughout the nation through an omnibus appropriations bill.17 The

program was such a success that, three years later, Congress called for its rapid

expansion.18 By the mid-1990s, a new, web-based, government-operated system

called “PACER” (and a court-filing system called “CM/ECF”) made court

documents from across the country, in nearly every jurisdiction, available

electronically to the public. The public’s response was immense: PACER’s user

base grew from 9,000 in 1994, to 30,000 in 1999, and to 67,000 in 2000.19

        Today, PACER is the principal index of and gateway to judicial records in

almost all criminal and civil matters—records that, as discussed above, are almost

universally subject to the qualified First Amendment right of access. By 2012,

there were more than 1.4 million registered PACER accounts used to conduct




16
  Letter from Alan D. Sugarman, HyperLaw, to James C. Duff, Director,
Administrative Office of the U.S. Courts, at 9 (May 7, 2008),
http://www.hyperlaw.com/topics/2008/2008-05-07-HL-to-AO-lower-court-
opinion-access-1.pdf.
17
  See Dep’ts of Commerce, Justice, and State, the Judiciary, and Related Agencies
Appropriations Act, Pub. L. No. 101-515, 104 Stat. 2101 (1990) (codified in 28
U.S.C. § 1913 note).
18
     See JA3151 & n.6 (quoting from H.R. Rep. No. 102-709, at 58 (1992)).
19
  See Electronic Public Access at 10, Third Branch, Sept. 2000, at 3, 4, available
at https://archive.org/details/thirdbranch32332200001fede/page/n139.
                                         12
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roughly 500 million requests for information annually,20 across approximately 43

million cases.21 By 2014, PACER housed “more than one billion retrievable

documents spread among the 13 courts of appeals, 94 district courts, 90 bankruptcy

courts, and other specialized tribunals.”22 Using the government’s 2012 estimated

rate of account creation, there are by now 2.5 million PACER users,23 comprised of

“lawyers; pro se filers; government agencies; trustees; bulk collectors; researchers;

educational institutions; commercial enterprises; financial institutions; the media;

and the general public.”24 As Chief Justice Roberts recently observed, “PACER

has enabled thousands of reporters, academics, and members of the public to find

court records in a way that would have been impossible before the advent of”

PACER and CM/ECF.25 Indeed, PACER has made the right of access a meaningful

one in the digital age.



20
   See U.S. Courts, Electronic Public Access Program Summary December 2012,
at 1, https://www.pacer.gov/documents/epasum2012.pdf (“2012 Access
Summary”).
21
 See Brian Browdie, Why Pacer Should (and Should Not) Be Like Edgar, Quartz,
Nov. 24, 2014, http://qz.com/283772.
22
  Supreme Court of the U.S., 2014 Year-End Report on the Federal Judiciary, at 6
(Dec. 2014), https://www.supremecourt.gov/publicinfo/year-end/2014year-
endreport.pdf (“2014 Year-End Report”).
23
  See 2012 Access Summary at 1 (estimating “approximately 13,000 new accounts
added each month”).
24
     See id. at 5.
25
     2014 Year-End Report at 6.
                                         13
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      B.     PACER satisfies the “experience and logic” tests.

      PACER is subject to the First Amendment right of access and, accordingly,

restrictions this records system places on public access are subject to Press-

Enterprise II’s narrow tailoring requirement.

      As discussed above, PACER is effectively a digital-age, all-case, super–

docket sheet that both indexes and permits access to more than a billion judicial

records. As many courts have held, docket sheets are among the quintessential

judicial documents to which the public has a right of access. The docket sheet

offers a window into the activities of the court, providing various categories of

pertinent information to the public. It is thus an “integral part” of a judicial

proceeding, “acting as both an index and a publication”:

      As an index, the docket catalogues all the proceedings and
      information taken before a court in that case. It permits both the court
      and observers to locate documents and proceedings that otherwise
      would be lost within the court’s vast record collections. It also allows
      one to quickly determine the status of a case, the actions of the parties,
      and the determinations of the judge, without requiring the inspection
      of every item in the case file. As a publication, the docket sheet
      provides the public and press with notice of case developments. This
      role assumes particular importance when the court is considering
      sealing a proceeding or judicial record.

Ochoa-Vasquez, 428 F.3d at 1029 n.15 (citations omitted).

      As many courts have found, civil and criminal docket sheets easily satisfy

both prongs of Press-Enterprise II. See, e.g., Pub. Citizen, 749 F.3d at 268; Ochoa-

Vasquez, 428 F.3d at 1029 n.15; Pellegrino, 380 F.3d at 96; United States v.
                                           14
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Valenti, 987 F.2d 708, 715 (11th Cir. 1993); In re Search Warrant, 855 F.2d 569,

575 (8th Cir. 1988). As to the first prong—“experience”—this country has a

“centuries-long history of public access to dockets.” United States v. Mendoza, 698

F.3d 1303, 1304 (10th Cir. 2012). That tradition is deeply embedded in both the

legislative and judicial branches. “Since the first years of the Republic, state

statutes have mandated that clerks maintain records of judicial proceedings in the

form of docket books, which were presumed open either by common law or in

accordance with particular legislation.” Pellegrino, 380 F.3d at 94; see also

Cervase v. Off. of Fed. Register, 580 F.2d 1166, 1170 (3d Cir. 1978) (discussing

indexing requirement under the Freedom of Information Act (“FOIA”), 5 U.S.C.

§ 552(a)(2)). And as to the second prong—“logic”—docket sheets are essential to

ensuring that the public and the news media have “meaningful access” to judicial

proceedings and the judicial system writ large. Ochoa-Vasquez, 428 F.3d at 1029

(quotation marks omitted). Indeed, without them, “the public and press” would not

have “the capacity to exercise their rights guaranteed by the First Amendment,”

and those rights would be “merely theoretical.” Pellegrino, 380 F.3d at 93.

      The same analysis forcefully applies to an online digital index of and

gateway to judicial records, like PACER.

      First, although PACER is a relatively recent innovation, the Supreme Court

has made clear that the proper focus of the “experience” analysis is the type of

                                          15
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governmental process or record to which the public seeks access, not the past

practice of a specific forum or technology. See El Vocero de P.R., 508 U.S. at 150–

51. And the aforementioned history of public access to docket sheets is more than

sufficient to satisfy Press-Enterprise II—to the extent that is even necessary.26

Moreover, that PACER has no analog-era predecessor (largely due to practical

limitations on file distribution and organization) is irrelevant to this analysis. As

courts have made clear in other contexts, the scope of constitutional rights does not

freeze in time but finds new application as society changes. See, e.g., Packingham

v. N. Carolina, 137 S. Ct. 1730, 1737 (2017) (explaining that social media websites

“allow a person with an Internet connection to ‘become a town crier with a voice

that resonates farther than it could from any soapbox’” (quoting Reno v. Am. Civil

Liberties Union, 521 U.S. 844, 870 (1997)).

      Second, the “logic” of public access to PACER—that it plays a “significant

positive role” in the functioning of the judicial system, Press-Enterprise II, 478

U.S. at 11—is indisputable. In the digital age, an index like PACER is a “necessary

corollary,” Pellegrino, 380 F.3d at 93, to physical access to all kinds of judicial

proceedings and records that are themselves subject to the First Amendment right

of access. As such, PACER is a both a gateway and a prerequisite to the exercise

26
  As explained above, courts have begun to recognize that proceedings or records
which, as a matter of “logic,” should be open to the public, must be so, even if
there is little or no “experience” of their being so. See supra note 2.
                                          16
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of the public’s and the press’s democratic oversight functions. PACER permits the

public to remotely access proceedings held all across the country, from one’s

home, the local library, or even on a subway car. And further, it enables the news

media to inform the public about matters of public concern. See generally Br. of

Amici Curiae Reporters Committee for Freedom of the Press, et al. § I (“RCFP

Br.”). Moreover, with a bevy of digital tools now available to analyze large sets of

data, PACER has the potential to vastly improve public oversight of the courts

through sophisticated computer analysis that could potentially detect significant

patterns in judicial decision making, various forms of bias, and important legal

trends, among many other applications. See, e.g., Stephen J. Schultze, The Price of

Ignorance: The Constitutional Cost of Fees for Access to Electronic Public Court

Records, 106 Geo. L.J. 1197, 1214–17 (2018). Finally, that PACER plays a

“significant positive role” in judicial oversight is buttressed by the Supreme

Court’s own understanding that while the evolution of both society and technology

may alter the means by which the public flexes its right of access, the right itself

remains intact. See Richmond Newspapers, 448 U.S. at 577 n.12 (plurality op.).

      The conclusion that PACER is subject to the First Amendment right of

access is illuminated by a little-noticed, but vastly important, case in which a

newspaper successfully challenged a state statute restricting access to court-

maintained indices of criminal defendants in closed criminal trials. See Globe

                                          17
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Newspaper Co. v. Fenton, 819 F. Supp. 89 (D. Mass. 1993). Fenton involved an

attempt by reporters from the Boston Globe’s famed “Spotlight” reporting team to

utilize alphabetical indices of criminal defendants in closed criminal trials to

conduct investigative reporting on judicial topics of public concern including

“bribery, ex parte dealings, and judicial or other misconduct in connection with the

disposition of criminal cases.” See id. at 95 (quotation marks omitted). While the

underlying records were available for public inspection at state trial-court clerks’

offices, a state statute aimed at protecting the privacy of criminal defendants had

restricted access to the index, which had been “a convenient—formerly public—

record which the Commonwealth ha[d] required trial court clerks to maintain since

before ratification of the United States Constitution.” Id.

      Judge Douglas P. Woodlock held that, based on both experience and logic,

the First Amendment access right applied to the case indices, and that the state’s

denial of access could not be sustained. See id. at 91. Judge Woodlock’s great

insight was that the Constitution requires public access to be not just literal but

meaningful, workable, and efficient. In Fenton, there was no dispute that the

records that were the ultimate object of the Spotlight team’s investigations were

themselves subject to the First Amendment right of access. See id. at 93–94.

Therefore, conditioning or restricting access to the case index was, directly or

indirectly, a limitation on that constitutionally guaranteed access. The state statute

                                          18
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at issue “den[ied] effective access to the records of closed criminal proceedings,”

the court wrote. Id. at 93 (emphasis added); id. at 98 (describing the statute as

barring “meaningful access to the underlying records”).

       Critically, the Fenton court explained that in order for public access to be

meaningful, the Constitution requires a system of organization that enables

efficient searching through court records:

       It is not misleading to think of courthouse papers as comprising a vast
       library of volumes for which docket sheets are the tables of contents.
       Without the card catalogue provided by alphabetical indices, a reader
       is left without a meaningful mechanism by which to find the
       documents necessary to learn what actually transpired in the courts.
       The indices thus are a key to effective public access to court activity.

Id. at 94.

       Equally important, Fenton focused on the importance of meaningful access

to the role of the public—and to the work of the news media, in particular—in

overseeing the work of the judiciary. The court explained that “[t]he role public

access to court records generally plays in the proper functioning of accountable

institutions, particularly the courts as institutions, is graphically illustrated by the

activities of the plaintiffs in dealing with such records”—i.e., large-scale

journalistic investigations into the courts. Id. at 95. And it concluded that, by

preventing the public’s reliance on the most efficient means of gathering

information about the judiciary, the state had effectively stifled legitimate criticism

incompatibly with the First Amendment. See id. at 94.
                                            19
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      Judge Woodlock’s observations in Fenton concerning a hard-copy,

alphabetical index to closed cases apply with exponentially more force here.

PACER constitutes a modern, digital “card catalogue” that provides the “key to

effective public access to court activity,” id. at 94. It is, by congressional design,

“the single most meaningful index to . . . documents in the courthouse” that are

themselves subject to First Amendment–governed public access, id. at 91. And its

use is essential to “learn what actually transpired in the courts,” id. at 94. As a

result, and for the reasons given above, PACER is subject to the First Amendment

right of access.

      C.     Restrictions on meaningful public access to judicial records
             through PACER—including through excessive fees—are subject
             to narrow tailoring.

      As explained above, encumbering the use of PACER to access judicial

records is a restriction on First Amendment rights. Therefore, the government

bears the burden of justifying any such restrictions. See, e.g., Phila. Newspapers v.

Hepps, 475 U.S. 767, 777 (1986). More precisely, the government must

demonstrate that in the absence of the restriction, there would be a substantial

probability of prejudice to a compelling government interest, and that the

restriction on access is narrowly tailored to protect the threatened interest. See, e.g.,

Press-Enterprise II, 478 U.S. at 13–14.




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      Any governmental regulation of public access to PACER, including the

imposition of fees, constitutes a restriction that must meet this test. In the district

court, the government argued that it is “misguided” to contend “that PACER fees

create a barrier to access.” Def.’s Mem. in Supp. of Cross-Mot. for S.J. & in Opp.

to Pls.’ Mot. for S.J. at 23, Nat’l Veterans Legal Servs. Program v. United States,

No. 16-cv-745 (D.D.C. Nov. 17, 2017), ECF No. 74-1 (“Gov’t DDC Br.”).

Astoundingly, the government’s argument is that the First Amendment has no

bearing on the charging of fees to access PACER because Plaintiffs and the public

“are able to view all electronically filed records free of charge through terminals

available at the courthouse.” Id. But this argument ignores reality, and its stilted

logic proves far too much.

      Although some measure of free public access to PACER (and the documents

that reside on the platform) is available to those with means and time to travel to

federal courthouses during business hours, that fact does not end the inquiry.27 It

can hardly be disputed that higher PACER fees diminish public access to judicial




27
   In the past, even the judiciary has acknowledged that access to PACER through
courthouses is insufficient to meet the needs of the public. See Press Release, U.S.
Courts, Pilot Project: Free Access to Federal Court Records at 16 Libraries (Nov.
8, 2007), available at https://web.archive.org/web/20071112035705/
http:/www.uscourts.gov/Press_Releases/libraries110807.html.
                                           21
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records subject to the right of access.28 The government’s burden is not to show

that some alternatives to paying fees exist, but rather that the current level of fees

is narrowly tailored to protect a compelling interest. Far from meeting this burden,

the government has hardly engaged it.29

      The Supreme Court has repeatedly explained how courts must analyze the

government’s imposition of fees as a condition of exercising First Amendment

rights. As Plaintiffs argued here and below, see Opening Br. of Pls.–Appellants at

30–32, ECF No. 20 (“Pls.’ Fed. Cir. Br.”); Pls.’ Mot. for S.J. as to Liability at 14–

15, Nat’l Veterans Legal Servs. Program v. United States, No. 16-cv-745 (D.D.C.

Aug. 28, 2017), ECF No. 52, “[t]he Supreme Court has held that a government

cannot profit from imposing” a fee “on the exercise of a First Amendment right,”

Sullivan v. City of Augusta, 511 F.3d 16, 38 (1st Cir. 2007) (citing Murdock v.

Pennsylvania, 319 U.S. 105, 113–14 (1943)), and that the general rule is that “fees


28
   See, e.g., Erika Wayne, PACER Spending Survey, Legal Research Plus Blog
(Aug. 28, 2009), http://legalresearchplus.com/2009/08/28/pacer-spending-survey
(“The unknown/potential costs of using PACER hold back most law school
libraries from letting their patrons fully utilize PACER.”); see also RCFP Br. § II.
29
   The same is true of the government’s reference to the availability of time-
limited, district-by-district, discretionary fee waivers to access PACER. See Gov’t
DDC Br. at 23 n.13. The process for obtaining fee waivers, and challenging denials
of them, is grossly inadequate to meet the access needs of the public. See Br. of
Amici Curiae AALL, et al. at 6–8 & n.8, 21 n.18, Nat’l Veterans Legal Servs.
Program v. United States, No. 16-cv-745 (D.D.C. Sept. 13, 2017), ECF No. 61. As
a result, the existence of fee waivers is unlikely to significantly impact the First
Amendment analysis here.
                                          22
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used to defray administrative expenses are permissible, but only to the extent

necessary for that purpose,” E. Conn. Citizens Action Grp. v. Powers, 723 F.2d

1050, 1056 (2d Cir. 1983); see Fernandes v. Limmer, 663 F.2d 619, 633 (5th Cir.

1981) (citing cases invalidating fees “in excess of costs of administration”). Those

are not stray cases. In Cox v. New Hampshire, 312 U.S. 569 (1941), the Supreme

Court approved a fee to obtain a license to march only because it was “not a

revenue tax, but one to meet the expense incident to the administration of [the

licensing statute at issue] and to the maintenance of public order in the matter

licensed.” Id. at 577 (quotation marks omitted). And more recently, circuit courts

have applied that rationale to various fee-based impediments on First Amendment

(and even other constitutional) rights. As one Court of Appeals recently put it,

“Under Murdock and Cox, seminal cases in the [Supreme] Court’s ‘fee

jurisprudence,’ the government may collect a fee to defray administrative and

maintenance costs associated with the exercise of a constitutional (usually First

Amendment) right, but it can’t impose a general revenue tax on the exercise of such

a right.” United States v. Cox, 906 F.3d 1170, 1187 (10th Cir. 2018); see also, e.g.,

Ne. Ohio Coal. for the Homeless v. Cleveland, 105 F.3d 1107, 1110 (6th Cir. 1997);

Kwong v. Bloomberg, 723 F.3d 160, 165 (2d Cir. 2013); S. Or. Barter Fair v.

Jackson Cty., 372 F.3d 1128, 1139 (9th Cir. 2004).




                                          23
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      Below, the government’s only response to this precedent was that these cases

“have no bearing here” because they “address only the collection of fees as a

prerequisite to engaging in free speech.” Gov’t DDC Br. at 24. But while the

precise contexts of those cases may differ from this one, the government failed to

explain why that is a meaningful difference at all—likely because it cannot. Indeed,

in Murdock, the Supreme Court explicitly characterized its analysis as applying to

the charging of money “as a condition to the pursuit of activities whose enjoyment

is guaranteed by the First Amendment”—no qualifier—specifically identifying the

“constitutional liberties of press and religion.” 319 U.S. at 114. The government’s

back-of-hand treatment of these cases is startling, not least because it ignores the

foundational rationale of Richmond Newspapers itself, which homes in on the

causal link between the right to public access and the rights of free expression and a

free press:

      In guaranteeing freedoms such as those of speech and press, the First
      Amendment can be read as protecting the right of everyone to attend
      trials so as to give meaning to those explicit guarantees. “[T]he First
      Amendment goes beyond protection of the press and the self-
      expression of individuals to prohibit government from limiting the
      stock of information from which members of the public may draw.”
      [First Nat’l Bank of Bos. v. Bellotti, 435 U.S. 765, 783 (1978)]. Free
      speech carries with it some freedom to listen. “In a variety of contexts
      this Court has referred to a First Amendment right to ‘receive
      information and ideas.’” [Kleindienst v. Mandel, 408 U.S. 753, 762
      (1972)]. . . . “For the First Amendment does not speak equivocally. . . .
      It must be taken as a command of the broadest scope that explicit


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       language, read in the context of a liberty-loving society, will allow.”
       [Bridges v. California, 314 U.S. 252, 263 (1941)].

448 U.S. at 575–76.

       In advocating for a statutory reading that permits it to charge PACER users

fees in excess of the costs necessary to maintain the system—the function and

purpose of which is to give the public access to judicial records that is guaranteed

by the First Amendment—the government has triggered narrow tailoring.

III.   The Court should reject the government’s interpretation of the E-
       Government Act because accepting it would, at the least, raise a
       substantial constitutional question.

       In the E-Government Act of 2002, Pub. L. 107-347, 116 Stat. 2899 (2002),

Congress authorized the government to charge PACER fees “as a charge for

services rendered,” but “only to the extent necessary” to “reimburse expenses

incurred in providing these services.” 28 U.S.C. § 1913 note. Plaintiffs contend

that this statute prohibits the Administrative Office of the U.S. Courts “from

charging more in PACER fees than is necessary to recoup the total marginal cost

of operating PACER.” Pls.’ Fed. Cir. Br. at 23. As explained above, that

interpretation is harmonious with the First Amendment, which prohibits the

government from raising general revenues from charges “impos[ed] . . . on the

exercise of a First Amendment right.” Sullivan, 511 F.3d at 38.

       By contrast, accepting the government’s interpretation would, at least, invite

a serious question about the statute’s constitutionality. The government maintains
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that the statute “allows PACER fees to be used for any expenditure that is related

to disseminating information through electronic means.” JA3175 (quotation marks

omitted). As the district court found, PACER revenues are relied upon to fund

items far afield from maintenance of the PACER system, rendering surplus

PACER revenues a kind of generalized information-technology fund. JA3179–80.

That kind of boundless authority risks allowing PACER fees to interfere with

meaningful access to the courts—and that is precisely what the First Amendment

prohibits. As the cases cited above make clear, while charging fees as a condition

of allowing the free exercise of First Amendment rights is permissible, those fees

must be reasonably related to the costs of administration and maintenance. The

logic of those cases is that such limitations on fees are required by the First

Amendment because they are essential to the meaningful exercise of the right.30




30
   Highly relevant here, see Pls.’ Fed. Cir. Br. at 38 n.5, Congress has implemented
this constitutional principal in various federal statutes. See, e.g., S. Rep. No. 93-
854, at 163 (1974) (in the FOIA, requiring that fees “be limited to reasonable
standard charges for document search and duplication” to “prevent agencies from
using fees as barriers to the disclosure of information which should otherwise be
forthcoming” (codified in 5 U.S.C. § 552(a)(4)(A)(iv))); H. Rep. No. 94-880, pt. 1,
at 16 (1975) (in the Government in the Sunshine Act, prohibiting the setting of fees
“with the purpose of discouraging public requests for transcripts or transcriptions”
because “their sole purpose is to permit recovery of some or all of the direct cost of
providing them” (codified in 5 U.S.C. § 552b(f))); S. Rep. No. 104-8, at 48 (1995)
(generally limiting user fees to access public information in excess of the cost of
dissemination because such “restrictions are needed to promote First Amendment
values” (codified in 44 U.S.C. § 4102)).
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Against that backdrop, it is exceedingly doubtful that the government could justify

its current fee arrangement and interpretation of the E-Government Act.

      As a result, the canon of constitutional avoidance requires that this Court

reject the government’s statutory reading. The canon does not require the Court to

determine that the government’s interpretation of the E-Government Act would

violate the First Amendment. Clark v. Martinez, 543 U.S. 371, 381 (2005); Adrian

Vermeule, Saving Constructions, 85 Geo. L.J. 1945, 1959 (1997). Rather, the

canon states that where a “construction of a statute would raise serious

constitutional problems,” courts should “construe the statute to avoid such

problems unless such construction is plainly contrary to the intent of Congress.”

Edward J. DeBartolo Corp. v. Fla. Gulf Coast Bldg. & Constr. Trades Council,

485 U.S. 568, 575 (1988). Thus, it kicks in where one statutory interpretation

“raise[s] a substantial constitutional question.” Peretz v. United States, 501 U.S.

923, 930 (1991).

      The government’s interpretation of the statute effectively places no limit on

PACER fees, opening the door to what it has in fact done here: using PACER as a

source of general revenue to fund initiatives entirely unrelated to the administrative

and maintenance costs of the system. The result is a structure under which the

government systematically charges the public a fee higher than the administrative

cost of facilitating the public’s and the press’s enjoyment of their constitutional

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rights. The government has not provided any justification why its current PACER

fee structure even arguably meets the narrow tailoring the First Amendment

requires of restrictions on public access—nor could it.

                                 CONCLUSION
      For the above reasons, the Court should reject the government’s

interpretation of the E-Government Act.



Date: January 23, 2019                         Respectfully submitted,

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                  UNITED STATES COURT OF APPEALS
                     FOR THE FEDERAL CIRCUIT
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      NATIONAL VETERANS LEGAL SERVICES PROGRAM, ET AL.

                                           v.

                                UNITED STATES
                                ______________

CERTIFICATE OF COMPLIANCE WITH TYPE-VOLUME LIMITATION

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